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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO


    Criminal Action No. 14-cr-00231-WJM

    UNITED STATES OF AMERICA,
                Plaintiff,

    v.


    #1 RICKY GARRISON,
                 Defendant.


     DEFENDANT RICKY GARRISON’S (AMENDED) WITNESS LIST FOR TRIAL
                      BEGINNING FEBRUARY 21, 2017
    ________________________________________________________________

          Mr. Garrison, by and through counsel, respectfully submits the attached

    witness list that Mr. Garrison intends to offer at the trial scheduled in this matter,

    beginning February 21, 2017.

           DATED this 17th day of February 2017.


                                                        Respectfully submitted,


                                                      By:   s/ Sean M. McDermott
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                               CERTIFICATE OF SERVICE

    I hereby certify that on February 17, 2017, I electronically filed the foregoing and
    that a copy was delivered to all parties allowed to receive this motion by the
    District of Colorado’s ECF filing system.




                                       s/ Sean McDermott
                                          Sean McDermott




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